Case 5:19-cv-11364-JEL-APP ECF

Pro Se 7 (Rev. 12/16) Complaint for Employment Discrimination

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No. 1 filed 05/08/19 PagelD.1 Page 1of 7

UNITED STATES DISTRICT COURT

Eastern District of Michigan

Matthew A. Smith

for the

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Case:5: 19-cv-11364

Judge: Levy, Judith E.

MJ: Patti, Anthony P.

Filed: 05-08-2019 At 02:36 PM

CMP SMITH V. DOMINOS PIZZA (DA)

an

 

Plaintiffs)
(Write the full name of each plaintiff who is filing this complaint.
ifthe names of ail the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

-V-

Domines Pizza

Jury Trial: check one} [Vlves [_]No

 

Defendant(s)
(Write the full name of each defendant who is being sued. if the
names of all the defendants cannot fit in ihe space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

COMPLAINT FOR EM

I. The Parties to This Complaint

A. The Plaintiff(s)

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PLOYMENT DISCRIMINATION

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed,
Name
Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address

The Defendant(s)

Matthew A. Smith
P.O. Box 350217

 

Westminster, Adams
co, 80035
720-231-9259

 

 

msmith11@hotmail.com

 

 

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title afknown). Attach additional pages if needed.

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Defendant No. |
Name Dominos Pizza
Job or Title (if known) Corporate Headquarters :
Street Address 30 Frank Lloyd Wright Dr
City and County Ann Arbor, WA
State and Zip Code MI, 48105

 

Telephone Number

 

E-mail Address (if known) N/A

 

Defendant No. 2

Name

 

Job or Title ffknown)
Street Address

 

 

City and County
State and Zip Code

 

 

 

Telephone Number

 

E-mail Address (if known}

 

Defendant No. 3

Name

 

Job or Title (if known)
Street Address

 

 

City and County
State and Zip Code

 

 

Telephone Number

 

 

E-mail Address (if known)

 

Defendant No. 4

Name

 

Job or Title (known)
Street Address

 

 

City and County
State and Zip Code

 

 

Telephone Number

 

E-mail Address (if known)

 

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Cc. Place of Employment

The address at which | sought employment or was employed by the defendant(s) is

 

 

 

 

 

 

Name Domines
Street Address 2400 E. 88th Ave Unit L
City and County Thornton, Adams
State and Zip Code CO, 80229
Telephone Number (303) 288-5522
il. Basis for Jurisdiction

This action is brought for discrimination in employment pursuant to ‘check all that apply):

[() O WN

Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to 2000e-17 (race,

color, gender, religion, national origin).

(Note: In order to bring suit in federal district court under Title VIF, you must first obtain a
Notice of Right to Sue letter from the Equal Employment Opportunity Commission.)

Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C, §§ 621 to 634,

(Note: In order ta bring suit in federal district court under the Age Discrimination in
Employment Act, you must first file a charge with the Equal Employment Opportunity
Commission.)

Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to 12117.

(Note: In order to bring suit in federai district court under the Americans with Disabilities
Act, you must first obtain a Notice of Right to Sue letter from the Equal Employment
Opportunity Commission)

Other federal law (specify the federal law):

Negligence

 

Relevant state law (specify, if known):

 

Relevant city or county law (specify, if known):

 

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Tr.

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

A. The discriminatory conduct of which I complain in this action includes ¢check ali that apply):

Failure to hire me.

Termination of my employment.

Failure to promote me.

Failure to accommodate my disability.

Unequal terms and conditions of my employment.

Retaliation.

SNONNOUU

Other acts (specifi: Negligence

 

(Note: Only those grounds raised in the charge filed with the Equal Employment
Opportunity Commission can be considered by the federal district court under the
federal employment discrimination statutes.)

B. Tt is my best recollection that the alleged discriminatory acts occurred on date(s)

7-3-17 to Termination

 

 

 

 

Cc, I believe that defendant(s) (check one):
is/are still committing these acts against me.
CJ is/are not still committing these acts against me.
D. Defendant(s) discriminated against me based on my (check ail that apply and explain):
race
color
gender/sex
religion

 

national origin

 

age (vear of birth) fonly when asserting a claim of age discrimination.)

SOOUUOUON

disability or perceived disability (specify disability)

Schitzoprenia, Anxiety, and Depression.

 

E. The facts of my case are as follows. Attach additional pages if needed.

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IV.

My Overtime and errors in scheduling has caused Disability Exacerbation. There was many instances of
Disability Discrimination. My Disability Accomodation requests were all ignored by corporate and
forwarded back to my managers without change or response; this including complaints of incorrect
Scheduling as agreed pre employment application. Harassment by certain management and unfair
workload disbursement due to preference and dislike. There was Negligent Hiring and Retention causing
my hours to decrease dramatically. There was Negligent Training in providing me all the computer based
know how in being an inside support and further having entry level knowledge of the overall business.
There was on many instances a Hostile/Uncomphortable Work Environment through fowl speech and
racial slur that has never heen addressed hy management to cease hehavior

 

 

(Note: As additional support for the facts of your claim, you may attach to this complaint a copy of
your charge filed with the Equal Employment Opportunity Commission, or the charge filed with the
relevant state or city human rights division.)

Exhaustion of Federal Administrative Remedies

 

A, It is my best recollection that I filed a charge with the Equal Employment Opportunity Commission or
my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
on (date)

Timely
B. The Equal Employment Opportunity Commission fcheck one):
has not issued a Notice of Right to Sue letter.
[ ] issued a Notice of Right to Sue letter, which ! received on (date)

(Note: Attach a copy of the Notice of Right to Sue letter from the Equal Employment
Opportunity Commission to this complaint.)

C. Only litigants alleging age discrimination must answer this question.

Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
regarding the defendant's alleged discriminatory conduct (check one):

CJ 60 days or more have elapsed.
LJ less than 60 days have elapsed.

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
money damages.

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- "Maximum Relief as Allowed by Law.

VI. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

 

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
served. [ understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: ZB hyy -e7

Signature of Plaintiff Af? DP. obs
Printed Name of Plaintiff 9, 9 of San A

B. For Attorneys

Date of signing:

Signature of Attorney

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm

 

Street Address

 

State and Zip Code

 

Telephone Number
E-mail Address

 

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